           Case: 23-3566   Document: 19    Filed: 12/06/2023   Page: 1



             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SIXTH CIRCUIT

UNITED STATES OF AMERICA,                  :

            Plaintiff-Appellee,            :

vs.                                        :     Case No. 23-3566

MATTHEW BORGES,                            :

            Defendant-Appellant.           :

                  Direct Appeal from a Criminal Judgment
              Entered In the United States District Court for the
                   Southern District of Ohio (Cincinnati)
                        Docket No. 1:20-cr-00077-4
                     (Timothy S. Black, District Judge)


            MOTION OF DEFENDANT-APPELLANT FOR
             EXTENSION OF BRIEFING SCHEDULE


      Defendant-Appellant respectfully moves the Court for an order extending

the due date for Appellant’s Brief from December 6, 2023 to January 5, 2024.

      This is an appeal from a RICO conspiracy conviction entered following

a 26-day jury trial. The transcripts of the trial alone consume 3,980 pages. The

district court admitted several hundred documentary exhibits into evidence.

      Despite dealing with a heavy trial and appellate court caseload, appellate

counsel has completed writing approximately 80% of the Appellant’s Brief and

anticipates completing the remainder in the next one to two weeks. His client
             Case: 23-3566   Document: 19    Filed: 12/06/2023   Page: 2



(who has attended law school) has asked for an opportunity to review a draft of

the brief and propose possible changes, additions and/or corrections. Counsel

wishes to accommodate his client in light of the substantial interests at stake.

Due to the client’s incarceration in the federal institution, this process will take

additional time. Under the circumstances, an additional-30 day extension is

requested.

                                      s/Dennis C. Belli
                                      DENNIS C. BELLI
                                      536 South High St. Fl. 2
                                      Columbus, Ohio 43215-5785
                                      Phone:(614) 300-2911
                                      Fax: (888) 901-8040
                                      E-Mail: bellilawoffice@yahoo.com
                                      ATTORNEY FOR DEFENDANT-
                                      APPELLANT


                         CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2023, I electronically filed the
foregoing with the Clerk of this Court using the ECF system, which will send
notification and a copy of such filing to Alexis J. Zouhary, Assistant United
States Attorney, Attorney for Plaintiff-Appellee United States of America.


                                      s/Dennis C. Belli
                                      DENNIS C. BELLI
                                      ATTORNEY FOR DEFENDANT-
                                      APPELLANT




                                         2
